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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA, et. al,                   Case No.: 20-CV-286 W (AGS)
12                                     Plaintiffs,
                                                         ORDER GRANTING JOINT
13   v.                                                  MOTION TO EXTEND TIME FOR
                                                         BRIEFING RELATED TO
14   ABBOT LABORATORIES, et. al,
                                                         ABBOTT’S MOTION TO DISMISS
15                                  Defendants.          RELATOR’S FIRST AMENDED
                                                         COMPLAINT [DOC. 46]
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17         Pending before the Court is a joint motion for an order setting a briefing schedule to
18   which the Parties have agreed for the remaining briefing of Abbott’s Motion to Dismiss
19   the First Amended Complaint (“Motion to Dismiss”). Good cause appearing, the Court
20   GRANTS the joint motion and ORDERS as follows: Relator shall file its opposition to
21   the Motion to Dismiss on or before October 12, 2021, and Defendants shall file their reply
22   in support of the Motion to Dismiss on or before October 26, 2021.
23         IT IS SO ORDERED.
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     Dated: October 1, 2021
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                                                                                 20-CV-286 W (AGS)
